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         Exhibit 2
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                                                 U. S. Department of Justice

                                                 Matthew M. Graves
                                                 United States Attorney

                                                 District of Columbia

                                                 Patrick Henry Building
                                                 601 D Street, NW
                                                 Washington, DC 20530

                                                March 23, 2023

BY ELECTRONIC MAIL
Tor Ekeland
Tor Ekeland Law PLLC
30 Wall Street, 8th Floor
New York, NY 10005
tor@torekeland.com

RE:    United States v. Sterlingov, Crim. No. 21-0399 (RDM) (D.D.C.)
       Subpoena for Testimony Issued to Catherine Alden Pelker

Dear Tor,

        I hope this day finds you well. I write on behalf of the United States Attorney’s Office
with respect to subpoena issued to Department of Justice (“Department”) Trial Attorney
Catherine Alden Pelker, seeking her oral testimony at trial in the above captioned matter. In
particular, I write to you pursuant to the Department’s Touhy regulations, 28 C.F.R. Part 16,
Subpart B, which govern the disclosure of official information in federal and state proceedings.
See generally United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951). As such, this letter is
without prejudice to any defenses to the subpoena that may be available to Ms. Pelker in her
personal capacity, including without limitation, insufficient service and undue burden and
expense.

        Under the Department’s Touhy regulations, Department attorneys have general disclosure
authority in federal and state proceedings in which the United States is a party, including the
above captioned matter. 28 C.F.R. § 16.23(a). Nonetheless, to ensure the orderly administration
of justice and to allow the United States to evaluate the oral testimony sought by a subpoena—
including whether the information sought is privileged, protected by one or more non-disclosure
statutes (e.g., the Privacy Act), or otherwise implicates a factor identified in 28 C.F.R.
§ 16.26(b)—the Department’s Touhy regulations place certain requirements on persons seeking
oral testimony from Department witnesses in U.S.-party cases. Specifically, 28 C.F.R.
§ 16.23(c) provides that “[i]f oral testimony is sought by a demand in a case or matter in which
the United States is a party, an affidavit, or, if that is not feasible, a statement by the party
seeking the testimony or by the party’s attorney setting forth a summary of the testimony sought
must be furnished to the Department attorney handling the case or matter.” Id. Courts have
routinely upheld the need for requesting parties to provide such summaries when seeking oral
testimony from Department officials. See, e.g., United States v. Springer, 444 F. App’x 256, 263
              Case 1:21-cr-00399-RDM Document 120-2 Filed 05/18/23 Page 3 of 3

United States v. Sterlingov                                                                                     Page 2 of 2
Subpoena for Testimony Issued to Catherine Alden Pelker



       (10th Cir. 2011); United States v. Bizzard, 674 F.2d 1382, 1387 (11th Cir. 1982); United States v.
       Marino, 658 F.2d 1120, 1125 (6th Cir. 1981).

               Accordingly, to assess your subpoena to Ms. Pelker and evaluate any concerns or
       objections the Department may have to it, we request that you provide the summary required by
       the Department’s Touhy regulations to the U.S. Attorney’s Office. In providing that summary,
       you are invited to address whether any of the factors listed in 28 C.F.R. § 16.26(b) are present,
       and if they are, why an Assistant Attorney General should nonetheless authorize disclosure.

              If you have any questions about the foregoing, please feel free to contact me at the below.

                                                        Sincerely,

                                                        MATTHEW M. GRAVES
                                                        United States Attorney

                                                        By: BRIAN P. HUDAK
                                                            Chief, Civil Division
                                                                                    Digitally signed by BRIAN HUDAK
                                                                                    Date: 2023.03.23 13:39:57 -04'00'
                                                             __________________________________
                                                             Phone: (202) 252-2549
                                                             Email: brian.hudak@usdoj.gov
